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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION

RODERICK S. REUTER, §
. 8
Plaintiff, §
§

v. § SA-19-CA-1044-FB (HJB)
§
EQUIFAX INFORMATION SERVICES, §
LLC; CITIFINANCIAL SERVICING, LLC; §
and GENERAL MOTORS FINANCIAL §
COMPANY, INC., §
§
Defendants. §

ORDER SETTING
INITIAL PRETRIAL CONFERENCE

On September 25, 2019, pretrial matters were referred to the undersigned pursuant to 28
U.S.C. § 636(b)(1). (See Docket Entry 17.) Accordingly, and pursuant to Federal Rule of Civil
Procedure 16(b), it is hereby ORDERED that this case is set for an Initial Pretrial Conference on
December 3, 2019, at 2:30 P.M. in Courtroom C on the 4" Floor of the John H. Wood, Jr., United
States Courthouse, 655 E. César Chavez Boulevard, San Antonio, Texas, 78206.
1. Telephonic Appearance(s).

The Court notes that the counsel for the parties are not local. With consent of the opposing
party, counsel may appear at the Initial Pretrial Conference by telephone. If any counsel wishes to
appear at the Initial Pretrial Conference by telephone, counsel must file an Unopposed Motion for

Leave to Appear Telephonically on or before November 25, 2019.
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Il. Joint Rule 26(f) Report.

In preparation for the Initial Pretrial Scheduling Conference, it is FURTHER ORDERED

that, on or before November 25, 2019,' the parties must confer as required by Federal Rule of Civil

Procedure 26(f) and Local Rule CV-16(c) and submit a Joint Rule 26(f) Report answering the

questions outlined below:

1.

9.

Are there any outstanding jurisdictional issues? For removed cases based on
diversity jurisdiction, do the parties agree that the amount in controversy exceeded
$75,000 at the time of removal? If not, each party should state its position on the
amount in controversy.

Are there any unserved parties? If more than 90 days have passed since the filing of
the Complaint or Petition, should these unserved parties be dismissed?

What are the causes of action, defenses, and counterclaims in this case? What are the
elements of the cause(s) of action, defenses, and counterclaims pled?

Are there agreements or stipulations that can be made about any facts in this case or
any element in the cause(s) of action?

What are the parties’ views and proposals on all items identified in Rule 26(f)(3)?

What, if any, discovery has been completed? What discovery remains to be done?
Have the parties considered conducting discovery in phases?

What, if any, discovery disputes exist?

Have the parties discussed the desirability of filing a proposed order pursuant to
Federal Rule of Evidence 502?

Have the parties discussed mediation?

Ill. Election to Consent to Magistrate Jurisdiction.

Pursuant to 28 U.S.C. § 636(c)(1), all full-time Magistrate Judges are authorized and

 

' This is the same date as the parties’ proposed scheduling recommendations are due per
Judge Biery’s Order. (See Docket Entry 16.) Both the Joint Rule 26(f) Report and the proposed
scheduling recommendations will be discussed during the Initial Pretrial Conference. The parties
may combine the Joint Rule 26(f) Report and their proposed scheduling recommendations into a
single document.
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empowered to try any civil case, jury or non-jury, with the consent of all parties to the lawsuit. If
the parties have not already done so, they must indicate their consent or non-consent on the attached
form (Consent Advisory to the Clerk of Court). The Advisory to the Clerk of Court must be filed
on or before November 25, 2019. Consent to trial by a Magistrate Judge must be voluntary, and
any party is free to withhold consent without suffering any adverse consequences. If all parties
consent to trial of this case by a Magistrate Judge, the District Court may enter an order assigning
the case to a Magistrate Judge for trial and entry of Judgment. If the case has already been referred
to a Magistrate Judge for pretrial matters and the parties consent to Magistrate Judge jurisdiction,

the referral will be before the Magistrate Judge already assigned the case.

SIGNED on September 26, 2019. L pC
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